         Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 1 of 9




                                   STATEMENT OF FACTS

        1.      Your affiant, Stephen Blackmore, is a Task Force Officer of the Federal Bureau of
Investigation (“FBI”), assigned to the Joint Terrorism Task Force of the Brevard Resident Agency,
Tampa Field Office. Currently, I am tasked with investigating criminal activity in and around the
United States Capitol on January 6, 2021. As a Task Force Officer, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of violations of Federal criminal laws.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

       5.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




                                                 1
         Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 2 of 9




        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       8.     The FBI maintains a website through which members of the public may submit tips
about suspected criminal activity, including crimes committed at the U.S. Capitol on January 6,
2021. Persons providing information may choose to provide identifying information or submit tips
anonymously.

         9.     On or about January 18, 2021, an anonymous person (“TIPSTER 1”) submitted a
tip to the FBI. TIPSTER 1 stated:

       Kenneth Reda lives in Brevard County Florida. This is his Parler account. I have
       heard that he was sending videos of the insurrection to friends. I am resubmitting
       because I heard he claimed to have [“]helped[”] 3 police officers who had fallen or
       were being trampled.

TIPSTER 1 attached an image. Based on my experience and investigation, I recognize the image
as showing a conversation between two users of Parler, which is a social networking platform
operated by Parler, LLC. In the screenshot, a person with the username “mrjoebidenhead” admits
to entering the U.S. Capitol:




         Figure 1: Redacted version of screenshot from Parler provided by TIPSTER 1,
                         showing comment made by mrjoebidenhead.


                                                 2
         Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 3 of 9




         10.    On or about January 19, 2021, an anonymous person (“TIPSTER 2”) submitted a
tip to the FBI. TIPSTER 2 stated:

       This was found on Pro-publica[’]s website of capitol videos. This is Kenneth
       Reda who lives in or around cocoa beach FL. The last is an old photo of him and
       shows the arms of his glasses.

TIPSTER 2 attached a close-up photo of the person TIPSTER 2 identified as REDA:




             Figure 2: Redacted version of photo of REDA provided by TIPSTER 2.

         11.    According to records obtained through a search warrant served on Google, a mobile
device associated with an email address containing REDA’s first and last name @gmail.com (the
“REDA Gmail”) was present at the U.S. Capitol on January 6, 2021.1 Google estimates device
location using sources including GPS data and information about nearby Wi-Fi access points and
Bluetooth beacons. This location data varies in its accuracy, depending on the source(s) of the
data. As a result, Google assigns a “maps display radius” for each location data point. Thus, where
Google estimates that its location data is accurate to within 10 meters, Google assigns a “maps
display radius” of 10 meters to the location data point. Finally, Google reports that its “maps
display radius” reflects the actual location of the covered device approximately 68% of the time.
In this case, Google location data shows that a device associated with the REDA Gmail was within
the U.S. Capitol or the restricted grounds from approximately 2:36 p.m. to approximately 3:35
p.m., or about 59 minutes. Google records show that the “maps display radius” for this location
data was less than 100 feet, which encompasses an area that is partially within the U.S. Capitol
Building.

1
  Unless otherwise specified, the full email addresses and phone numbers referenced in this
Statement of Facts are known to the FBI but are omitted due to the public nature of this filing.


                                                3
         Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 4 of 9




      12.     Records obtained from Google show that the REDA Gmail is registered to Ken
Reda. It is linked to a recovery email address containing REDA’s initials and last name
@yahoo.com and a phone number ending in -4563.

         13.     Records obtained from Oath Holdings Inc. (which operates Yahoo Mail) show that
the @yahoo.com email address referenced above is registered to Ken Reda and another person
whose last name is Reda, and was created on April 10, 1998. This @yahoo.com email address is
linked to an address in California, a phone number ending in -4850, and the REDA Gmail (which
was in the proximity of the Capitol, as described in paragraph 11). In addition, records obtained
from Oath Holdings Inc. show that another Yahoo Mail email address, this one containing Reda’s
first and last name, is registered to Ken Reda and was created on December 1, 2017. This additional
Yahoo Mail email address is linked to the phone number ending in -4563 but not to any physical
addresses or alternate email addresses.

        14.    According to records obtained through a search warrant served on Verizon
Wireless, on January 6, 2021, in and around the time of the incident, the cell phone associated with
the phone number ending in -4563 was identified as having utilized a cell site consistent with
providing service to a geographic area that includes the interior of the U.S. Capitol Building.
Records obtained from Verizon Communications show that the -4563 account is serviced by a
different provider. Thus, these records do not contain REDA’s name or other identifying
information.

        15.     Using a Florida government database, I located an address associated with REDA.
On or about May 14, 2021, I went to REDA’s neighborhood in Melbourne, Florida. I spoke with
an adult who lived nearby (“NEIGHBOR”) and identified myself as a law enforcement officer. I
showed REDA’s driver’s license photo to NEIGHBOR, and NEIGHBOR confirmed that REDA
lived at the address I had identified. NEIGHBOR did not know REDA’s name but said that REDA
drove a Jeep with large tires and was a teacher.

        16.    Following my interview of NEIGHBOR, I searched online for REDA and found a
publicly available Facebook post of an article and video uploaded on or about December 18, 2019,
by Space Coast Daily, which appears to be an online media outlet. The post identified REDA as a
coach for the Viera Hawks football team. Based on my investigation and my knowledge of the
area, I know that Viera High School is located in Viera, Florida, and that its mascot is a hawk. I
watched the video on the Facebook posting, including a portion in which REDA is identified by
name. Below is a screenshot showing the video in which REDA appears along with the
accompanying post:




                                                 4
         Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 5 of 9




         FIGURE 3: Screenshot of post and video from Space Coast Daily’s Facebook
                                  page showing REDA.

        17.    After watching this video, I obtained the license plate number for REDA’s vehicle.
I went to the Viera High School parking lot, where I located a Jeep with large tires, as described
by NEIGHBOR. The Jeep’s license plate number matched the one registered to REDA. On a later
day, I returned to Viera High School and observed REDA arrive in the Jeep and walk into the
school. I recognized REDA from his driver’s license photo, the Space Coast Daily post, and the
photo provided by TIPSTER 2.

        18.    I have reviewed video footage captured on January 6, 2021, by U.S. Capitol
surveillance cameras. Based on my observations of REDA at the high school, the photo provided
by TIPSTER 2, the video posted by Space Coast Daily, and the location records provided by
Google, I was able to identify REDA in these videos. I watched surveillance footage showing
REDA entering the U.S. Capitol at approximately 3:02 p.m.; walking through the U.S. Capitol,
including the Rotunda; and exiting the U.S. Capitol at approximately 3:12 p.m. REDA appeared
to be with two other individuals. Below are several screenshots taken from U.S. Capitol
surveillance video showing REDA inside the U.S. Capitol on January 6, 2021 (REDA is identified
with red boxes):




                                                5
Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 6 of 9




FIGURE 4: Screenshot of Capitol surveillance video showing REDA entering
                     U.S. Capitol at 3:02:47 p.m.




FIGURE 5: Screenshot of Capitol surveillance video showing REDA in U.S.
                  Capitol Rotunda at 3:04:09 p.m.



                                   6
         Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 7 of 9




       FIGURE 6: Screenshot of Capitol surveillance video showing REDA near exit of
                              U.S. Capitol at 3:11:47 p.m.




       FIGURE 7: Screenshot of Capitol surveillance video showing REDA exiting U.S.
                                Capitol at 3:12:28 p.m.

        19.     Parler, LLC provided records that show that the “mrjoebidenhead” account is
linked to the REDA Gmail. These records show that the account was created on or about June 17,
2019. It is not linked to a phone number. The user’s self-described biography is: “Imperfect Son
of the Lord Jesus Christ, Husband, Father, Son, Pop, Educator, concerned American NRA & 2A
supporter: WWG1WGA.” Based on my investigation and experience, I believe that REDA is the
owner of the mrjoebidenhead Parler account, given the biography and its connection to the REDA
Gmail that contains his name.


                                               7
           Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 8 of 9




        20.    Records obtained from Parler, LLC confirm TIPSTER 1’s tip that REDA posted a
comment admitting to being inside the U.S. Capitol. On or about January 6, 2021, REDA posted
the following comment:

       I was there at the steps of the Capital I got into the capital building there was
       certainly a difference in attitude by some a small number mind you than the rest of
       us more violent and speaking poorly to the police but I am sure the #’s were small
       but served to be agitators the majority wanted to get into the Capital to let the
       Executive branch to hear our voices and instead the built fencesand barriers and
       asked the police to forcibly keep us out. They did thier duty but were overwhelmed
       by numbers.

Also on January 6, 2021, REDA posted a comment stating: “Violence and vandalism was very
minor minus the cop shooting a young girl.” Using the records from Parler, LLC and a website
available to the public, I determined that the Internet Protocol (“IP”) address associated with these
two posts was located in Baltimore, Maryland.

       21.     Other Parler posts by REDA demonstrate his intent to travel to Washington, D.C.,
on January 6, 2021, and his knowledge that Congress was meeting that day to certify the vote of
the Electoral College. For example:

              On or about December 19, 2020, REDA posted: “We have got to get to DC on
               January 6th it is IMPERATIVE every single person that VOTED for Trump has to
               flood DC. . . .”
              On or about December 22, 2020, REDA posted: “#patriots #WWG1WGA All it is
               IMPERATIVE that we let our elected federal officials know in both the Senate and
               the house that we will not be voting for them again if they do not support our
               President Trump on January 6th when they are cou thing Electoral College votes
               this is the cleanest Constitutionally right way for Trump to win a 2nd term. WE
               MUST LET THEM KNOW THE THING THAT THE COVET THE MOST
               THIER PPWER WILL BE GONE IF THEY DO NOT SUPPORT TRUMP. . . .”
              On or about December 27, 2020, REDA made a post containing the phrase: “See
               you in DC on the 6th assholes who don’t support trump.”
              On or about December 27, 2020, REDA posted: “It is time to organize PATRIOTS
               we need to get together and organize against this KABAL we need to overthrow
               it....they have thrown their last ditch effort to overthrow this election therefore this
               nation if we do not come together and organize we will LOSE.”
              On or about December 30, 2020, REDA posted: “Read echo understand and join
               us in DC on the 6th.”

        22.    Based on my investigation, I have determined that REDA was not authorized to be
inside the U.S. Capitol or within the restricted building or grounds on January 6, 2021.

       23.   Based on the foregoing, your affiant submits that there is probable cause to believe
that REDA violated 18 U.S.C. § 1752(a)(1) and (2), which make it a crime to (1) knowingly enter


                                                  8
          Case 1:21-cr-00452-TFH Document 1-1 Filed 07/01/21 Page 9 of 9




or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        24.     Your affiant submits there is also probable cause to believe that REDA violated 40
U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Task Force Officer Stephen Blackmore
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1st day of July, 2021.
                                                                       2021.07.01
                                                                       11:58:41 -04'00'
                                                      ___________________________________
                                                      HON. ROBIN M. MERIWEATHER
                                                      UNITED STATES MAGISTRATE JUDGE




                                                 9
